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  10
                               UNITED STATES DISTRICT COURT
  11
                             CENTRAL DISTRICT OF CALIFORNIA
  12
                                       SOUTHERN DIVISION
  13
  14
       MICAH’S WAY, a California non-profit )
  15
                                            ) Case No.: 8:23-cv-00183-DOC-KES
       organization,                        )
                                            ) DEFENDANT CITY OF SANTA
  16                Plaintiff,              ) ANA’S NOTICE OF MOTION AND
                                            ) MOTION TO DISMISS
  17         v.                             ) PLAINTIFF MICAH’S WAY’S
  18
                                            ) COMPLAINT; MEMORANDUM
       CITY OF SANTA ANA, a municipal       ) OF POINTS AND AUTHORITIES
  19   corporation,                         )
                                            )
  20
                                            ) DATE:           May 1, 2023
                    Defendant.              ) TIME:           8:30 a.m.
  21
                                            ) COURTROOM: 10-A
                                            )
  22
                                            ) JUDGE: The Hon. David O. Carter
                                            )
  23
                                            )
                                            )
  24
                                            )
                                            )
  25
                                            )
                                            )
  26
          TO     PLAINTIFF,         ITS     COUNSEL          OF     RECORD,         AND      THIS
  27
       HONORABLE COURT:
  28

                                                     1
       ______________________________________________________________________________________________
        DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF MICAH’S
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   1      PLEASE TAKE NOTICE that on May 1, 2023, at 8:30 a.m., in Courtroom 10A
   2   of the United States District Court for the Central District of California, Southern
   3   Division, located at 411 West Fourth Street, Santa Ana, California 92701, Defendant
   4   CITY OF SANTA ANA’S (“City” or “Defendant”) Motion to Dismiss Plaintiff
   5   MICAH’S WAY’S (“Plaintiff”) Complaint for Violation of (1) Religious Land Use
   6
       and Institutionalized Persons Act and (2) First Amendment of the United States
   7
       Constitution (“Complaint”) will be heard.
   8
          Defendant’s motion is brought on the following grounds:
   9
          1. Plaintiff’s First Cause of Action for Violation of Religious Land Use and
  10
              Institutionalized Persons Act of 2000 (“RLUIPA”) fails to state a claim for
  11
              which relief can be granted under Federal Rule of Civil Procedure 12(b)(6)
  12
              because Plaintiff’s use of its property, as alleged in the Complaint, does not
  13
  14
              constitute a religious exercise under RLUIPA.

  15      2. Plaintiff’s First Cause of Action fails to state a claim for which relief can be

  16          granted under Federal Rule of Civil Procedure 12(b)(6) because the City’s
  17          denial of Plaintiff’s Certificate of Occupancy (“COO”) Application and the
  18          City’s 2023 COO conditions do not impose a substantial burden on Plaintiff’s
  19          religious exercise, as such exercise – incidental food distribution – is alleged
  20          in the Complaint.
  21      3. Plaintiff’s Second Cause of Action fails to state a claim for which relief can
  22          be granted under Federal Rule of Civil Procedure 12(b)(6) because the City’s
  23          zoning laws, as alleged in the Complaint, do not violate the First
  24          Amendment’s Free Exercise Clause.
  25
          Defendant’s motion is based on the accompanying Memorandum of Points and
  26
       Authorities, on the full records of this matter, and upon such further briefing and
  27
       argument as the Court may allow at the hearing on this motion.
  28

                                                     2
       ______________________________________________________________________________________________
        DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF MICAH’S
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   1      This motion is made following a conference of counsel pursuant to Local Civil
   2   Rule 7-3, which took place on March 15, 2023.
   3
   4                                              Respectfully submitted,
   5
   6                                              SONIA R. CARVALHO
   7                                              City Attorney, City of Santa Ana
   8
   9
       Dated: March 22, 2023                      By:     /s/ Jose Montoya
  10                                                     JOSE MONTOYA
  11
                                                         Assistant City Attorney
                                                         JOHN M. FUNK
  12                                                     Chief Assistant City Attorney
  13                                                     Attorney for Defendant,
                                                         CITY OF SANTA ANA
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       ______________________________________________________________________________________________
        DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF MICAH’S
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9     IV.     PLAINTIFF’S FIRST CAUSE OF ACTION FOR VIOLATION OF
              RLUIPA FAILS TO STATE A CLAIM UPON WHICH RELIEF CAN BE
10
              GRANTED UNDER FREDERAL RULE OF CIVIL PROCESURE
11            12(B)(6) BECAUSE PLAINTIFF’S USE OF THE PROPERTY AS
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14
      V.      PLAINTIFF’S FIRST CAUSE OF ACTION FAILS TO STATE A CLAIM
              UPON WHICH RELIEF CAN BE GRANTED UNDER FEDERAL RULE
15            OF CIVIL PROCEDURE 12(B)(6) BECAUSE THE CITY’S DENIAL OF
16            PLAINTIFF’S CERTIFICATE OF OCCUPANCY APPLICATION DOES
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   1                 MEMORANDUM OF POINTS AND AUTHORITIES
   2
       I.     INTRODUCTION
   3
              The Complaint filed by Plaintiff should be dismissed as it fails to state a
   4
       cause of action upon which relief can be granted under Federal Rule of Civil
   5
       Procedure 12(b)(6). Plaintiff is a non-profit entity located at 1517 E. 4th Street in
   6
       Santa Ana (the “Resource Center” or “Property”) operating within the City’s
   7
   8   Professional (“P”) district, and is immediately adjacent to a residential

   9   neighborhood. Plaintiff has been the subject of multiple complaints from the
  10   neighboring Saddleback neighborhood residents because of its food distribution to
  11   individuals. When the City learned of the complaints, it issued an administrative
  12   citation to Plaintiff for conducting business operations without a valid Certificate of
  13   Occupancy (“COO”).
  14          The Complaint stems from the City’s subsequent denial of Plaintiff’s COO
  15   application on grounds that Plaintiff was engaged in food distribution activities that
  16   are not permitted in the P district.
  17          In August 2022, an internal appeal hearing was held before an administrative
  18   hearing officer who upheld the City’s decision on zoning grounds but returned the
  19
       matter to the City for further evaluation of Plaintiff’s claim that the City’s land use
  20
       decision violated RLUIPA. In its Complaint, Plaintiff has maintained that it
  21
       distributes snack food and beverages inside its Resource Center but does so only as
  22
       an ancillary service in connection with providing its “clients” (i.e. persons in need)
  23
       with other primary services. Plaintiff characterizes this activity as religious
  24
       exercise covered by RLUIPA. Plaintiff’s Complaint, however, lacks any factual
  25
       support for its claim that the City’s denial of Plaintiff’s COO application imposed a
  26
  27
       substantial burden on Plaintiff’s religious exercise under RLUIPA, nor does the

  28   City’s zoning law in the P district violate the First Amendment.

                                                     4
       ______________________________________________________________________________________________
        DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF MICAH’S
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   1   II.     STATEMENT OF RELEVANT FACTS AS ALLEGED IN THE
               COMPLAINT
   2
   3          For purposes of this Motion to Dismiss, only the facts as alleged in the
   4   Complaint which are relevant to this motion are recited below.
   5          Plaintiff’s Complaint alleges that a denial of its COO application and the
   6
       City’s subsequent application of the 2023 COO Conditions (land use regulations)
   7
       deprives Plaintiff “its right to free exercise of religion, as secured by RLUIPA,” by
   8
       placing a substantial burden on Plaintiff’s religious exercise. Complaint
   9
       (“Compl.”). ⁋⁋ 34, 109, 114, 118, 119, 121. Plaintiff also alleges violation of the
  10
       First Amendment’s Free Exercise Clause pursuant to 42 U.S.C. § 1983. Compl. ¶¶
  11
       128-139.
  12
              Plaintiff alleges that it offers a variety of charitable services to the
  13
  14
       impoverished, downtrodden, and disabled individuals in Santa Ana. Compl. ¶ 6.

  15   Plaintiff alleges that the primary services that it offers to individuals in Santa Ana
  16   in furtherance of its religious beliefs in rendering charitable services include “ID
  17   vouchers; assistance in obtaining birth certificates; mail collection; hygiene
  18   materials; clothing; bus passes; hotel/motel vouchers; tuition assistance for children
  19   from poor families; counseling; delivery of food boxes to residences; referrals to
  20   other outreach services; onsite assistance for persons released at night from the
  21   Orange County jail, and many other programs and services.” Compl. ¶¶ 6, 29.
  22          Plaintiff alleges that when individuals visit its Resource Center “to obtain
  23   one or more of the services [Plaintiff] offers, [Plaintiff] gladly provides them with
  24   snack food items (muffins, pastries, fruit, etc.) and beverages (coffee, juice, water,
  25
       etc.).” Compl. ¶ 7. Plaintiff compares its food activity to a law office that offers its
  26
       “white-collar patrons” “coffee or lunch during meetings.” Compl. ¶ 20.
  27
              Plaintiff further alleges that it “only hands out snack food and beverages
  28

                                                     5
       ______________________________________________________________________________________________
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   1   inside its Resource Center and does so in connection with providing its “clients”
   2   (i.e. persons in need) with other primary services. Compl. ¶¶ 6, 29. Plaintiff states:
   3   “Plaintiff is now extending the same hospitality to its clients that other businesses
   4   in the Professional district customarily extend in offering refreshments to the
   5   clients or customers who visit their offices.” Compl. ¶ 30.
   6
              Plaintiff alleges that in November 2021, the City began claiming that
   7
       Plaintiff’s act of charity in providing such food and beverage items to the poor and
   8
       homeless persons who visit Plaintiff’s Resource Center was not a “permitted use”
   9
       in the P district in which the Resource Center is located and thus constituted a
  10
       violation of the City’s Municipal Code. Compl. ¶ 8. At the same time in
  11
       November 2021, the City issued an Administrative Citation to Plaintiff and insisted
  12
       that, unless Plaintiff immediately obtained a COO to use and occupy its Resource
  13
  14
       Center, Plaintiff would have to cease all operations at that location. Compl. ¶ 10.

  15          In January 2023, Plaintiff’s initial COO application submitted in December

  16   2022 was denied by the City on the grounds that Plaintiff’s operations were not
  17   consistent with an office use nor the purpose of the General Plan designation and
  18   zoning. Compl. ¶ 12. In February 2022, Plaintiff applied a second time for a COO
  19   for its Resource Center and “earnestly sought to alleviate any concerns the City
  20   might have about [Plaintiff’s] distribution of small amounts of food and beverages
  21   to the people [Plaintiff] served.” Compl. ¶ 12. However, in June 2022, Plaintiff’s
  22   COO Application was denied by the City on grounds that Plaintiff was engaged in
  23   food distribution activity, which implies that the primary services offered by
  24   Plaintiff were not a basis for denial. Compl. ¶ 8. Plaintiff alleges that it is the
  25
       City’s position that food distribution is a violation of the City’s zoning code and is
  26
       unpermitted in the Professional District. Compl. ¶¶ 79, 122.
  27
              Plaintiff exercised its right under the City’s Municipal Code to appeal the
  28
       City’s denial of Plaintiff’s COO Application and an appeal hearing was held in
                                                6
       ______________________________________________________________________________________________
        DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF MICAH’S
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   1   August 2022. Compl. ¶ 14. After an almost three day hearing, Plaintiff alleges that
   2   the administrative hearing officer, retired Superior Court Judge David R. Chaffee
   3   (“Judge Chaffee”), granted Plaintiff’s appeal on the grounds that the City failed to
   4   “address the RLUIPA issues.” Compl. ¶ 14.
   5          As Plaintiff stated in its complaint, following Judge Chaffee’s decision, the
   6
       City Attorney’s Office met with Plaintiff to “negotiate a path forward in light of
   7
       RLUIPA and sought a resolution that would allow it to obtain a COO to use and
   8
       operate the Resource Center…” Compl. ¶¶ 27, 112. Plaintiff alleges that despite
   9
       Plaintiff’s representations that it now only hands out food and beverages inside its
  10
       Resource Center and in connection with other primary services, the City has
  11
       refused to alter its position and will not issue a COO unless Plaintiff agrees to
  12
       institute a total ban on providing any food or beverages at the Resource Center.
  13
  14
       Compl. ¶¶ 29-31.

  15          Plaintiff alleges that on January 11, 2023, the City notified Plaintiff via an

  16   email from the City Attorney’s Office that the City would not issue a COO to the
  17   Resource Center unless Plaintiff agreed to what Plaintiff refers to the “2023 COO
  18   Conditions,” but fails to list what those conditions are in the Complaint. Compl. ¶
  19   32. Plaintiff indicates that after further consideration by the City, the City’s
  20   position remained unchanged that its denial of Micah’s Way COO application does
  21   not impose a substantial burden on Micah’s Way’s religious exercise. Compl. ¶ 34.
  22
  23   III.   LEGAL STANDARD FOR A MOTION TO DISMISS
  24
              Grounds for bringing a motion to dismiss include “failure to state a claim
  25
       upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6) Dismissal is proper if
  26
       there is a “lack of cognizable legal theory” or the “absence of sufficient facts
  27
  28   alleged under a cognizable legal theory.” Balistreri v. Pacific Police Dep’t, 901

                                                     7
       ______________________________________________________________________________________________
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   1   F.2d 696, 699 (9th Cir. 1988). While Plaintiff is entitled to have well pled
   2   allegations taken as true, “a plaintiff’s obligation to provide the grounds of his
   3   entitlement to relief requires more than labels and conclusions . . . .” Bell Atl.
   4   Corp. v. Twombly, 550 U.S. 544, 555 (2007). Finally, “ . . . for a complaint to
   5   survive a motion to dismiss, the non-conclusory factual content, and reasonable
   6
       inferences from that content, must be plausibly suggestive of a claim entitling
   7
       plaintiff to relief.” Moss v. Secret Service, 572 F.3d 962, 969 (9th Cir. 2009). The
   8
       facts alleged in Plaintiff’s Complaint are neither sufficient to support its claims nor
   9
       “plausibly suggestive” of any claim contained therein. As a result, this Court
  10
       should grant Defendant’s Motion to Dismiss.
  11
  12
       IV.     PLAINTIFF’S FIRST CAUSE OF ACTION FOR VIOLATION OF
  13
  14
               RLUIPA FAILS TO STATE A CLAIM UPON WHICH RELIEF CAN BE

  15           GRANTED UNDER FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6)

  16           BECAUSE PLAINTIFF’S USE OF THE PROPERTY AS ALLEGED
  17           DOES NOT CONSTITUTE A RELIGIOUS EXERCISE UNDER RLUIPA
  18
  19          In passing the RLUIPA, Congress intended to relax the requirement under
  20   First Amendment jurisprudence that the “religious exercise” be central to the
  21   individual’s religion. Under RLUIPA, free exercise includes “any exercise of
  22   religion, whether or not compelled by, or central to, a system of religious
  23   belief.” 42 U.S.C. § 2000cc-5(7)(A). Particularly relevant here, RLUIPA
  24   provides that “[t]he use, building, or conversion of real property for the purpose
  25
       of religious exercise shall be considered to be religious exercise of the person or
  26
       entity that uses or intends to use the property for that purpose.” 42 U.S.C. §
  27
       2000cc-5(7)(B); see also Scottish Rite Cathedral Assn. of Los Angeles v. City of
  28

                                                     8
       ______________________________________________________________________________________________
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   1   Los Angeles, 156 Cal.App.4th 108, 118 (2007).
   2          In Scottish Rite, the court held that RLUIPA did not protect commercial
   3   activities conducted by the Scottish Rite Cathedral Association of Los Angeles
   4   (SRCALA) and its lessee, Los Angeles Scottish Rite Center, LLC (LASRC).
   5   Scottish Rite, 156 Cal.App.4th at 119. In that case, the threshold question was
   6
       whether the cathedral was being used for the purpose of religious exercise when
   7
       used by LASRC, an entity to which SRCALA had rented the Premises. Id. at
   8
       118. The court held that a burden on a commercial enterprise used to fund a
   9
       religious organization does not constitue a substantial burden on religious
  10
       exercise within the meaning of RLUIPA. Id. at 67.
  11
              Similar to Scottish Rite, in the instant case, the threshold question is
  12
       whether the services provided by Plaintiff constitute a religious exercise. While
  13
  14
       Plaintiff is not operating a commercial use, its use of its property as an

  15   administrative office is analogous to commercial activity in the sense it is not

  16   religious exercise. For example, Plaintiff alleges that it provides individuals in
  17   Santa Ana with services such as “ID vouchers; assistance in obtaining birth
  18   certificates; mail collection; hygiene materials; clothing; bus passes; hotel/motel
  19   vouchers; tuition assistance for children from poor families; counseling;
  20   delivery of food boxes to residences; referrals to other outreach services; onsite
  21   assistance for persons released at night from the Orange County jail, and many
  22   other programs and services.” Compl. ¶ 6. Plaintiff further alleges that when
  23   individuals visit its Resource Center “to obtain one or more of the services
  24   [Plaintiff] offers, [Plaintiff] gladly provides them with snack food items
  25
       (muffins, pastries, fruit, etc.) and beverages (coffee, juice, water, etc.). Compl. ¶
  26
       7.
  27
              Plaintiff alleges it is a non-profit, faith-based organization but the inquiry
  28

                                                     9
       ______________________________________________________________________________________________
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   1   does not stop there. As alleged, the services provided by Plaintiff are purely
   2   administrative and are not religious in nature. For example, the services offered
   3   by Plaintiff such as ID vouchers, assistance, counseling, mail collection and
   4   “other programs services” are secular activities performed in a normal office
   5   setting, which do not qualify as protected religious exercise under RLUIPA.
   6
       Additionally, the food activity at the Property is not a service that is offered by
   7
       Plaintiff but as discussed below, is merely an incidental use of minor
   8
       significance. See Mintz v. Roman Catholic Bishop, 424 F.Supp.2d 309, 318 (D.
   9
       Mass. 2006) (finding that buildings used by religious organizations for secular
  10
       activities are not automatically protected); see also Scottish Rite, 156
  11
       Cal.App.4th at 119 (discussing the Senate’s consideration of RLUIPA noting
  12
       that, despite the broad definition of “religious exercise” as the “use, building, or
  13
  14
       conversion” of real property for religious exercise, “ ‘not every activity carried

  15   out by a religious entity or individual constitutes “religious exercise.” In many

  16   cases, real property is used by religious institutions for purposes that are
  17   comparable to those carried out by other institutions.) Based on the foregoing,
  18   the services offered by Plaintiff and use of its property, as alleged in the
  19   Complaint, simply do not constitute religious exercise for purposes of RLUIPA.
  20
  21   V.      PLAINTIFF’S FIRST CAUSE OF ACTION FAILS TO STATE A
               CLAIM UPON WHICH RELIEF CAN BE GRANTED UNDER
  22           FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6) BECAUSE THE
  23           CITY’S DENIAL OF PLAINTIFF’S CERTIFICATE OF OCCUPANCY
               AND 2023 COO CONDTIONS APPLICATION         DOES   NOT
  24           SUBSTANTIALLY BURDEN PLAINTIFF'S RELIGIOUS EXERCISE
  25
  26          Even if Plaintiff’s use of its property as described in the Complaint is
  27
       construed as religious exercise, Plaintiff’s claims that the City has “deprived and
  28
       continue to deprive [Plaintiff] of its right to free exercise of religion, as secured
                                                   10
       ______________________________________________________________________________________________
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   1   by RLUIPA, by imposing and implementing land use regulations that place a
   2   substantial burden on [Plaintiff’s] religious exercise” must fail. Compl. ¶ 118.
   3   Before Plaintiff may take advantage of RLUIPA, it must prove that the land use
   4   law applied to them constitutes a “substantial burden” on its religiously
   5   motivated conduct. 42 U.S.C. § 2000cc-2(b). No set of facts in the Complaint
   6
       make it possible for Plaintiff to carry its burden.
   7
              A substantial burden is one that is “oppressive to a significantly great
   8
       extent” or that puts “substantial pressure” “to modify … behavior and to violate
   9
       . . . beliefs.” Guru Nanak Sikh Soc'y of Yuba City v. Cnty. of Sutter, 456 F.3d
  10
       978, 988 (9th Cir. 2006). Although RLUIPA does not define “substantial
  11
       burden,” the Ninth Circuit has consistently found that a substantial burden “must
  12
       place more than inconvenience on religious exercise. New Harvest Christian
  13
  14
       Fellowship v. City of Salinas, 29 F.4th 596, 602 (9th Cir. 2022); Int’l Church of

  15   Foursquare Gospel, 673 F.3d at 1068 (citing Guru Nanak, 456 F.3d at 988).

  16   “Thus, for a land use regulation to impose a “substantial burden,” it must be
  17   “oppressive” to a “significantly great” extent. That is, a “substantial burden” on
  18   “religious exercise” must impose a significantly great restriction or onus upon
  19   such exercise.” San Jose Christian Coll. v. City of Morgan Hill, 360 F.3d 1024,
  20   1034 (9th Cir. 2004) (citations omitted).
  21          The Ninth Circuit has considered certain factors to determine the
  22   existence of a substantial burden, which “include, but are not necessarily limited
  23   to, [1] whether the government's reasons for denying an application were
  24   arbitrary, such that they could easily apply to future applications by the religious
  25
       group; [2] whether the religious group has ready alternatives available to it or
  26
       whether the alternatives would entail substantial uncertainty, delay, or expense;
  27
       and [3] whether the religious group was precluded from using other sites in the
  28
       city. See San Jose Christian Coll., 360 F.3d at 1035-36; Guru Nanak, 456 F.3d
                                                11
       ______________________________________________________________________________________________
        DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF MICAH’S
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   1   at 989; Foursquare Gospel, 673 F.3d at 1067, 1070; New Harvest Christian
   2   Fellowship, 29 F.4th at 602.
   3          Plaintiffs fail to meet any of the factors that the Ninth Circuit uses to
   4   determine the existence of a substantial burden because the City’s decision was
   5   not arbitrary, Plaintiff’s mere inconvenience would not amount to substantial
   6
       uncertainty, delay, or expense, and Plaintiff is not precluded from other sites in
   7
       the City, nor is the City requiring Plaintiff to abandon its current cite.
   8
              But most important – the food distribution, as described in the Complaint
   9
       – is nothing more than incidental and certainly not a primary use such that any
  10
       restriction on it would impose a substantial burden. Plaintiff alleges that it
  11
       offers a variety of charitable services to the impoverished, downtrodden, and
  12
       disabled individuals in Santa Ana. Compl. ¶ 6. Food bank and food pantry are
  13
  14
       not listed as a service that is provided by Plaintiff. As it relates to food

  15   distribution, Plaintiff’s allegations focus only on limited food distribution

  16   occurring at the Property that is merely incidental and secondary to the primary
  17   services they offer. Plaintiff alleges that when individuals visit its Property “to
  18   obtain one or more of the services [Plaintiff] offers, [Plaintiff] gladly provides
  19   them with snack food items (muffins, pastries, fruit, etc.) and beverages (coffee,
  20   juice, water, etc.).” Compl. ¶ 7. As further support for incidental food
  21   distribution, Plaintiff compares its food activity to a law office that offers its
  22   “white-collar patrons” “coffee or lunch during meetings.” Compl. ¶ 20.
  23   Plaintiff further alleges that it “only hands out snack food and beverages inside
  24   its Resource Center and does so in connection with providing its “clients” (i.e.
  25
       persons in need) with other primary services. Compl. ¶¶ 6, 29. Plaintiff states:
  26
       “Plaintiff is now extending the same hospitality to its clients that other
  27
       businesses in the Professional district customarily extend in offering
  28
       refreshments to the clients or customers who visit their offices.” Compl. ¶ 30.
                                                12
       ______________________________________________________________________________________________
        DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF MICAH’S
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   1   Under all these circumstances, as alleged, Plaintiff’s food distribution is clearly
   2   incidental or ancillary to the primary services it provides. Based on Plaintiff’s
   3   own allegations, it is inescapable that simply providing small snack food items
   4   such as a “cup of coffee and a muffin” to individuals that obtain other services
   5   at the Property is a minor activity when compared to the long list of services
   6
       they offer. Accordingly, any curtailment or limitation on such a minor activity
   7
       is a mere inconvenience and cannot possibly be a “substantial burden” as
   8
       contemplated by the Ninth Circuit.
   9
              Prohibiting Plaintiff from distributing food is not excessively burdensome
  10
       and does not pressure Plaintiff to modify its behavior to violation its religious
  11
       belief. Compl. ¶¶ 119, 123. As discussed above, Plaintiff’s food activity is
  12
       incidental to its primary use of providing services to the underserved. By
  13
  14
       Plaintiff’s own admission, the City has never asked Plaintiff to move from its

  15   location. Compl. ¶ 106. Further, the City did not act arbitrarily when it was

  16   willing to issue Plaintiff a COO if it ceases its food activity, which is not even a
  17   primary use of the Property as explained above. Compl. ¶¶ 119-120, 122.
  18   Plaintiff presents no facts nor allegations that the City has permitted food
  19   distribution for other religious and non-religious entities. Therefore, there is no
  20   substantial burden on Plaintiff’s exercise of religion by restricting Plaintiff’s
  21   admittedly small amount of food and beverages at the Property, an ancillary use.
  22   ///
  23   ///
  24   ///
  25   ///
  26   ///
  27   ///
  28

                                                    13
       ______________________________________________________________________________________________
        DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF MICAH’S
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    1   VI.    PLAINTIFF’S SECOND CAUSE OF ACTION FAILS TO STATE A
               CLAIM FOR WHICH RELIEF CAN BE GRANTED BECAUSE THE
    2          CITY’S ZONING LAWS DO NOT VIOLATE THE FIRST
    3          AMENDMENT FREE EXERCISE CLAUSE
    4
               The Supreme Court and the Ninth Circuit and other federal courts have
    5
        consistently found that RLUIPA is more protective of religious practice than the
    6
    7
        First Amendment. Mayweathers v. Newland, 314 F.3d 1062, 1070 (9th Cir.

    8   2002); Harbor Missionary Church Corp. v. City of San Buenaventura, 642

    9   F.App’x. 726, 728, n. 2. (9th Cir. 2016); Ramirez v. Collier, 142 S. Ct. 1264,
   10   1277 (2022) (citing Holt v. Hobbs, 574 U.S. 352, 357, 135 S. Ct. 853, 860
   11   (2015). In Scottish Rite, the court stated that in light of its determination that
   12   SRCALA’s (the entity claiming religious exercise) right of religious exercise
   13   under RLUIPA was not burdened by the city’s revocation of its COO, it did not
   14   need to analyze the constitutional claim of whether the COO revocation violated
   15   SRCALA’s First Amendment right of free exercise. Scottish Rite, 156
   16   Cal.App.4th at 121. Accordingly, if Plaintiff has not alleged facts to support a
   17   substantial burden for purposes of RLUIPA (which it has not), this means that
   18
        Plaintiff has not alleged facts to support a First Amendment claim either.
   19
               As alleged and urged above, Plaintiff has not stated allegations, even if
   20
        taken as true, that would constitute a violation of RLUIPA, and therefore its
   21
        First Amendment claim must fail as well. If this Court should find otherwise,
   22
        Plaintiff’s claim under the First Amendment should still be independently
   23
        dismissed for failure to state a claim.
   24
               “The First Amendment, which has been made applicable to the States by
   25
        incorporation into the Fourteenth Amendment, provides that ‘Congress shall
   26
   27   make no law respecting an establishment of religion, or prohibiting the free

   28   exercise thereof ....’ ” Employment Div., Oregon Dep't of Human Resources v.

                                                     14
        ______________________________________________________________________________________________
         DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF MICAH’S
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    1   Smith, 494 U.S. 872, 876–77 (1990) (superseded by statute as stated in Ramirez
    2   v. Collier, 142 S. Ct. 1264, 1281 (2022)) (holding that a Texas prison policy
    3   preventing a death row inmate’s pastor from touching and audibly praying with
    4   inmate during execution likely violated RLUIPA); San Jose Christian Coll., 360
    5   F.3d at 1030.
    6
               In San Jose Christian College, the Ninth Circuit found that the incidental
    7
        burden upon a college’s free exercise of religion is not violative of the First
    8
        Amendment where the record reflects that the city’s zoning ordinance applies
    9
        throughout the entire city and there is no evidence to hint that the college was
   10
        targeted on the basis of religion. San Jose Christian Coll., 360 F.3d at 1031-32.
   11
               The same conclusion applies here. As noted by the Ninth Circuit, “[a]
   12
        law is one of neutrality and general applicability if it does not aim to ‘infringe
   13
   14
        upon or restrict practices because of their religious motivation,’ and if it does

   15   not ‘in a selective manner impose burdens only on conduct motivated by

   16   religious belief.’” San Jose Christian Coll., 360 F.3d at 1031. In the instant
   17   case, the Plaintiff’s Property is zoned as “Professional.” This is not disputed by
   18   Plaintiff. Compl. ¶ 30. Plaintiff alleges that it is the City’s position that food
   19   distribution is a violation of the City’s zoning code and is unpermitted in the
   20   Professional District. Compl. ¶¶ 79, 122. The City’s zoning code is neutral, has
   21   general applicability and does “not aim to infringe upon or restrict’ the religious
   22   practices of Plaintiff. Church of Lukumi Babalu Aye v. City of Hialeah 508 U.S.
   23   533, 543 (1993); San Jose Christian Coll., 360 F.3d at 1031. Plaintiff has
   24   failed to allege any facts that the City’s prohibition on food distribution is being
   25
        applied in a selective matter. As Plaintiff stated in its Complaint, the City
   26
        Attorney’s Office even met with Plaintiff to “negotiate a path forward in light of
   27
        RLUIPA and sought a resolution that would allow it to obtain a COO to use and
   28
        operate the Resource Center…” Compl. ¶ 112.)
                                            15
        ______________________________________________________________________________________________
         DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF MICAH’S
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    1          Plaintiff’s allegations state that the City maintained that Plaintiff was
    2   “violating the City’s Zoning Code by allegedly engaging in unpermitted food
    3   distribution in the Professional District” and would be willing to issue the COO for
    4   [Plaintiff’s] Resources Center if Plaintiff ceased its food distribution activity.
    5   Compl. ¶¶ 79, 122. Again, Plaintiff presents no facts nor allegations that the City
    6
        has permitted food distribution for other religious and non-religious entities. As
    7
        discussed above, all food distribution activity is prohibited for all organizations and
    8
        entities regardless of commercial or religious status in the City’s Professional
    9
        district. Therefore, the incidental burden on Plaintiff’s free exercise of religion, if
   10
        any, is not violative of the First Amendment’s Free Exercise Clause.
   11
   12
        VII. CONCLUSION
   13
   14          Based upon the foregoing, this Court should grant Defendant’s motion to
   15   dismiss Plaintiff’s Complaint.
   16                                                     Respectfully submitted,
   17
   18                                                     SONIA R. CARVALHO
                                                          City Attorney, City of Santa Ana
   19
   20
   21   Dated: March 22, 2023                      By:     /s/ Jose Montoya
                                                          JOSE MONTOYA
   22
                                                          Assistant City Attorney
   23                                                     JOHN M. FUNK
   24                                                     Chief Assistant City Attorney
                                                          Attorney for Defendant,
   25                                                     CITY OF SANTA ANA
   26
   27
   28

                                                     16
        ______________________________________________________________________________________________
         DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF MICAH’S
                                              WAY’S COMPLAINT
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    1                                PROOF OF SERVICE
                                Micah’s Way. v. City of Santa Ana
    2                        USDC Case No.: 8:23-cv-00183-DOC-KES
    3
               I am employed in the aforesaid county; I am over the age of eighteen and not
    4
        a party to the within action; my business address is 20 Civic Center Plaza, M-29,
    5   P.O. Box 1988, Santa Ana, California 92702.
    6                On March 22, 2023, I served the foregoing document described as:
    7   DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND
        MOTION TO DISMISS PLAINTIFF MICAH’S WAY’S COMPLAINT, in
    8   this action by electronic mail to the following:

    9   SEE ATTACHED SERVICE LIST

   10          [ ] (MAIL) I am readily familiar with my employer’s practice of collection
        and processing correspondence for mailing. Under that practice, it would be
   11
        deposited with U.S. Postal Service on that same day with postage thereon fully
   12   prepaid at Santa Ana, California in the ordinary course of business. I am aware that
   13   on motion of the party served, service is presumed invalid if postal cancellation
        date or postage meter date is more than one day after date of deposit for mailing in
   14   affidavit.
   15          [ ] (FACSIMILE) The document was transmitted by facsimile transmission
        and was reported as complete and without error.
   16          [ ] (E-MAIL) I caused the documents to be sent to the person(s) at the
   17   electronic service address listed below, wherein such email is transmitted that same
        day in the ordinary course of business.
   18
               [X ] (ELECTRONIC FILING) I provided the document(s) listed above
   19   electronically through the CM/ECF system pursuant to the instructions set forth in
   20   the Local Rules for the United States District Court for the Central District of
        California.
   21           I declare that I am employed in the office of a member of the bar of this
   22   court at whose direction the service was made.
   23
               Executed on March 22, 2023, at Santa Ana, California.
   24
   25                                              /s/ Suzanne St. Clair
                                                   Suzanne St. Clair
   26
   27
   28


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        ______________________________________________________________________________________________
                                              PROOF OF SERVICE
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    1                                   SERVICE LIST
                              Micah’s Way v. City of Santa Ana, et al.
    2                        USDC Case No.: 8:23-cv-00183-DOC-KES
    3
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         Tyler Palmer                                   Telephone: (949) 622-2600
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        ______________________________________________________________________________________________
                                              PROOF OF SERVICE
